Case:1:99-ev-63696 Decument# 77 Fied>02/45/04 Page-1of 19 PagelD #9 —____..__.____

Minute Order Form (06/97)

United States District Court, Northern District of IHinois

Name of Assigned Judge Sitting Judge if Other
or Magistrate Judge Joan H. Lefkow than Assigned Judge
CASE NUMBER 99 C 3696 DATE 2/15/2001
CASE Archie Robinson vs. City of Harvey and Officer Manuel Escalante
TITLE
{In the following box (a) indicate the party filing the motion, ¢.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
MOTION: of the motion being presented.]
DOCKET ENTRY:
a) 0 Filed motion of [ use listing in “Motion” box above.]
(2) Oo Brief in support of motion due
(3) O Answer brief to motion due . Reply to answer brief due
(4) O Ruling/Hearing on set for at
(5) oO Status hearing[held/continued to] [set for/re-set for] on set for at
(6) Oo Pretrial conference[held/continued to] [set for/re-set for] on set for at
(7) O Trial[set for/re-set for] on at
(8) O {Bench/Jury trial] [Hearing} held/continued to at
(9) O This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]
C]FRCP4(m) © General Rule21 OFRCP41(a\(1) OO FRCP41(a)(2).
ao) [Other docket entry] Enter Memorandum Opinion and Order. Defendants’ motions for summary
judgment [37-1], [38-1], are denied as to Counts I, II, and V of the complaint. Plaintiffhaving withdrawn
Counts III and IV of the complaint, Counts III and IV are dismissed.

(11) [For further detail see order attached to the original minute order.}

No notices required, advised in open court.

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No notices required. number of notices

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Notified counsel by telephone. date docketed

Docketing to mail notices.

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARCHIE ROBINSON, )
)
Plaintiff, )
)
v. ) No. 99 C 3696
)
CITY OF HARVEY and }
OFFICER MANUEL ESCALANTE, .)
) Db
Defendants. ) Chine
MEMORANDUM OPINION AND ORDER FEp 7

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Plaintiff Archie Robinson (“plaintiff”) filed a six count complaint against defendants City
of Harvey (“the City” or “Harvey”) and Officer Manuel Escalante (“Escalante”). Count I is
against both defendants for excessive force in violation of 42 U.S.C. § 1983; count II is against
the City for deprivation of necessary medical care also in violation of § 1983; counts III and IV
have been withdrawn; count V is a supplemental state law claim against Escalante for malicious
prosecution; and count VI is a supplemental state law claim against the City for indemnification
in the event judgment is entered against Escalante. The City moves for summary judgment on
counts [, II, and III, and Escalante moves for summary judgment on count I and V. As plaintiff
has withdrawn counts III and IV, these counts will be dismissed, and for the reasons articulated
below, the court denies summary judgment on counts I, II, and V.

SUMMARY JUDGMENT STANDARDS

Summary judgment obviates the need for a trial where there is no genuine issue as to any
material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
56(c). To determine whether any genuine fact exists, the court must pierce the pleadings and

assess the proof as presented in depositions, answers to interrogatories, admissions, and

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affidavits that are part of the record. Fed R. Civ. P. 56(c) Advisory Committee’s notes. The ©

party seeking summary judgment bears the initial burden of proving there is no genuine issue of
material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). In response, the non-moving
party cannot rest on bare pleadings alone but must use the evidentiary tools listed above to
designate specific material facts showing that there is a genuine issue for trial. Jd. at 324; Insolia
v. Philip Morris Inc., 216 F.3d 596, 598 (7" Cir, 2000), A material fact must be outcome
determinative under the governing law. Insolia, 216 F.3d at 598-599. Although a bare
contention that an issue of fact exists is insufficient to create a factual dispute, Bellaver v.
Quanex Corp., 200 F.3d 485, 492 (7" Cir. 2000), the court must construe all facts in a light most
favorable to the non-moving party as well as view all reasonable inferences in that party’s favor.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

FACTS
Events Surrounding the Shooting

Plaintiff's Version

On September 3, 1997, plaintiff, who was then nine days shy of his 20" birthday,
unarmed, and had no criminal record, paid a visit to his classmate Mecca Eves (“Eves”) at an
apartment complex located at 14721 Vail Street in Harvey, Illinois. At this time, Officers

Escalante and Williams were Harvey police officers known to be members of Harvey’s “Special

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Operations Group,” a group the public came to call the “Jump Out Boys.” After leaving Eves

'Officer Edison Torres testified at his deposition that the Special Operations Group
handled search warrants, conducted regular patrols, and was dispatched to investigate any gang
activity. Plaintiff, at his deposition, described the Jump Out Boys as plain clothes officers who
jumped out of cars when they saw people congregated. Plaintiff also testified that the police

(continued...)
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apartment to go to a store, plaintiff stopped outside the apartment building and briefly spoke with
Anthony Reynolds (“Reynolds”). While in conversation with plaintiff, Reynolds abruptly
stopped talking, adopted a surprised look on his face, and began to run away. Plaintiff also
started running, and both plaintiff and Reynolds ran north along Vail street until they approached
a picket fence. Reynolds reached the fence first and climbed over. Plaintiff also started climbing
the fence even though he could not see what was located on the other side. Plaintiff’s foot
became stuck on the top of the fence, but he managed to pull his leg free. After plaintiff landed
on the ground, he slipped in the mud and then jumped back onto the fence. While plaintiff was
on the fence this second time, Escalante shot plaintiff in the buttocks with a .45 caliber revolver
with the intention of using deadly force. After Escalante shot plaintiff, plaintiff blacked out,
flipped over the fence and fell to the ground on the west side of the fence. Williams arrived on
the west side of the fence within seconds of the shooting and called for an ambulance on his
police radio, stating that he needed assistance for a “battery victim.” (P1.’s Statement of
Additional Facts 28.) Williams also looked through a missing fence panel, did not see a gun on
the ground on the east side of the fence the first time he looked through the fence, but did see a
gun the second time he looked through the fence, Before Williams looked through the fence a
second time, a detective who had joined Escalante and Reynolds on the east side of the fence saw
a gun. Escalante never saw a gun on the ground. The area on the east side of the fence consisted
mostly of sparsely located packed-down grass and dirt that would not have concealed a weapon.

In addition, the area had not yet been secured when Williams looked through the fence a second

'(...continued)
officers would refer to themselves as the Jump Out Boys as well.

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time and saw the gun on the ground. “Nothing changed about the position of Williams,
Escalante, and Reynolds vis a vis the fence between the first and second times Williams looked
through the fence,” and “Williams had a clear line of sight to where the gun was laying.” (/d. |
37.) A .22 caliber handgun with a broken grip was recovered on the ground.

No one arrested plaintiff at the scene of the shooting. At the same time an ambulance
arrived, Officer Torres (“Torres”), who had heard the ambulance call over his police radio,
arrived at the scene and approached Escalante. Escalante then told Torres that he had shot
someone who had pointed a gun at him. Sargent Wells (“Wells”), who was summoned to the
scene after the shooting, told Williams to secure the area, which involved placing police tape
around and keeping people away from the secured area. Although the fence was sufficiently lit,
Wells never saw the gun Escalante claimed plaintiff pointed at him. While plaintiff was in the
ambulance, Escalante told other officers that plaintiff had had a gun. In addition, another Harvey
police officer also known to be a member of the Jump Out Boys asked plaintiff while he was on
the ambulance whether plaintiff had really had a gun. Plaintiff was then taken to a hospital by
the ambulance and treated there for his gunshot wound.

Defendants’ Version

On September 2, 1997, Williams received a “lead” regarding illegal narcotics activity in
the Vail Street area, and on September 3, 1997, Escalante, Williams, and Deputy Marshal
LaDarryl White (“White”) traveled around this area in unmarked police car (although the people
in the area they were traveling in would have recognized it as a police car) pursuant to an
investigation headed by Williams regarding the illegal narcotics activity. The officers planned to

drive around the area, and once they arrived at the buildings located at 147" Street and Vail,
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Escalante was to proceed to the rear of the buildings in the event people ran through a corridor
between buildings. “Escalante’s goal was to climb a fence in the rear of the buildings and meet
any subjects in front of the building. Escalante sought to apprehend anyone fleeing the location,
or recover narcotics that anyone attempted to drop and hide.” (Escalante’s Statement of Material
Facts { 14.) When Escalante, Williams, and White arrived at 147" and Vail, Williams and White
proceeded toward a crowd of people and Escalante ran northbound along a back alley. Escalante
then encountered a wooden fence and attempted to jump over the fence. At the same time the
officers arrived, plaintiff and Reynolds, with Reynolds in front, began running from the police
northbound along Vail Street and approached a wooden fence. Plaintiff and Reynolds were the
only members of the crowd who ran when the police arrived, and Williams pursued them
northbound along Vail Street. Reynolds and plaintiff jumped over the fence landing on the
fence’s eastside. Escalante, who was on the eastside of the fence trying to climb over to the
fence’s westside, encountered Reynolds on top of the fence and then encountered plaintiff.
Escalante ordered plaintiff and Reynolds to stop, to which Reynolds responded, “fuck that,” and
then jumped on top of Escalante. Escalante struggled with Reynolds and while attempting to
hold Reynolds, Escalante ordered plaintiff to stop. Plaintiff failed to stop and, instead, jumped
upon Escalante. Escalante then pushed plaintiff against the fence, and plaintiff attempted to
climb back to the westside of the fence. Escalante tried pulling plaintiff down by his pants and,
at the same time, continued to struggle with Reynolds who was trying to knock Escalante down.
While Escalante tugged at his pants, plaintiff removed a handgun from his pants and pointed it
towards Escalante’s face. Escalante released plaintiff's pant legs, stepped back from plaintiff and

ordered plaintiff to drop the gun. When plaintiff failed to comply, Escalante shot plaintiff from a
distance of approximately one and one half feet. While on the west side of the fence, Williams
heard scuffling on the east side and also heard Escalante say “Get down, get down! Police,
police.” (/d. at 29.)

After Escalante shot plaintiff and plaintiff fell onto the west side of the fence, Escalante
told Williams that plaintiff had a gun. Williams looked at plaintiff's hands and the grass
surrounding plaintiff, saw no gun, and handcuffed plaintiff, Williams then looked through a hole
in the fence and saw Escalante and another suspect. The second time Williams looked through
the fence he saw a gun on the ground. Escalante recovered cannabis from Reynolds after
handcuffing him.

Treatment of Plaintiff’s Gunshot Wound

At approximately 11:00 p.m, on September 3, 1997, plaintiff was taken from the hospital
to the Harvey Police Department and placed in a cell. At approximately 4:30 a.m. on the
following morning, the Illinois State Police Public Integrity Task Force (““PITF’”) interviewed
plaintiff, and an ambulance was called to further treat plaintiff after the interview because
plaintiff was still bleeding and blood had soaked through his bandage. The medical personnel
changed plaintiff's bandage and told him that if the wound started bleeding again, he should tell
one of his jailors to bring him to the hospital and have his wound stitched up. Plaintiff informed
one of the jailors that his bandage was saturated with blood and showed the jailor his blood-
soaked bandage when the jailor brought plaintiff breakfast later that morning. The jailor told
plaintiff that he would call an ambulance for him. Because no medical personnel came to see
plaintiff, plaintiff later told a Harvey employee sitting at the main desk approximately 15-20 feet

from plaintiff's celi that he was still bleeding. Plaintiff called out twice to the Harvey employee
at 11:00 but received no response. Plaintiff's wound continued to bleed, the blood soaked

through plaintiff's jeans, and plaintiff became too weak to stand. As a result, plaintiff
alternatively knelt on the floor and taid flat on his stomach. Plaintiff received no response to his
calls for medical attention until other people in lock-up began crying out that there was a
bleeding man with them. An ambulance was called at approximately 4:00 p.m. and plaintiff was
again treated. Plaintiff was transported to the Markham courthouse at approximately 4:00 a.m.
and released at 10:00 a.m. the following moming (September 5, 1997), After his release,
plaintiff went to Ingalls Hospital’s emergency room and received additional medical treatment.
Post-Shooting Investigations

Torres testified at his deposition that several weeks after the shooting, Officer
Jeleniewski, another Harvey police officer, told Torres that he believed that the gun found at the
scene of the shooting had been planted post-shooting after other officers had arrived. Torres
stated that he understood Jeleniewski to be saying that Williams had confessed that someone
other than plaintiff had brought the gun to the scene of the shooting and that Jeleniewski was
accusing either Torres or Escalante of planting the gun. Torres also claims he later confronted
Williams about the alleged confession but Williams denies both that he confessed and that he
ever spoke with Torres about this issue. Instead, Williams testified at his deposition that he
stated to several people that he did not see a gun in plaintiffs hand. The Illinois State Police
interviewed Harvey Police Commander Damiani (“Damiani”), the commander in charge of the
Internal Affairs Division, resulting in a written investigative report that states, in part, that

Jeleniewski had a conversation with Harvey Police Officer Montell Williams.

Williams had allegedly told Jeleniewski that Williams thought the gun recovered
in the Archie Robinson shooting might have been seized on a raid earlier that
month. Williams had allegedly told Jeleniewski that Williams had never seen the
gun until after Officer Edison Torres was on the scene and Williams thought
Torres might have planted the gun.

(id. 951, Ex. W.) The forensic scientist who tested the gun at a police laboratory found no
evidence that plaintiff had touched the gun,’ and a laboratory hired by plaintiff to evaluate the
gun also found “no fingerprint evidence which would substantiate the fact that the weapon was
handled.” (Ud. | 67, Ex. M.)
Prosecution of the Unlawful Use of a Weapon Charge

Escalante drafted a police report on September 3, 1997 stating that plaintiff had pointed a
gun in Escalante’s face, and Williams also included Escalante’s version of the events in his
police report. Escalante also spoke to Assistant State’s Attorney Golden (“Golden”) on the night
of the shooting and told Golden that he believed that piaintiff had committed a felony. Golden
ultimately decided to charge plaintiff with unlawful use of a weapon. Assistant State’s Attorney
McQuaid, the attorney who prosecuted the state’s case against plaintiff, also reviewed the police
reports. In 1997, the charge of unlawful use of a weapon was a class four felony carrying a
minimum sentence of one year and a maximum sentence of three years, along with a potential
$25,000 fine, and Escalante understood that the conduct of which he accused plaintiff could have

resulted in a felony conviction.

*The following exchange took place at Forensic Scientist Wilburn Wilkens’ deposition:

Q. So is it fair to say that you have no evidence that you can give us that Archie
Robinson touched this gun?

A. That is correct, and the other way also. Ihave no way to tell if he touched
the gun or he didn’t touch the gun.
Escalante appeared, pursuant to a subpoena, at plaintiffs criminal trial for the unlawful

use of a weapon on November 18, 1998 even though he was no longer a Harvey police officer.
Because Escalante no longer worked as a Harvey police officer, he did not bring the gun to the
trial. When McQuaid expressed concerns about prosecuting without any evidence, Escalante
attempted to persuade McQuaid to go forward with the case. McQuaid, who had only 30
minutes to review the criminal file prior to trial, neither called Escalante to testify nor attempted
to produce the allegedly retrieved gun at trial. Instead, the tral proceeded by stipulation, an
uncommon procedure for a felony prosecution. Plaintiff was acquitted after trial.
Escalante’s Background

Before becoming a Harvey police officer, Escalante pled guilty to a crime involving the
fraudulent display of license plates, was charged with battery, and either pled guilty to or was
found guilty of the unlawful use of a weapon (the record is unclear), for which he received one
year probation for the unlawful use of a weapon. In addition, the Chicago Police Department
rejected Escalante’s application for employment because he scored too low on a required
examination for employment. (Torres also failed another police department’s written test for
employment but passed Harvey’s test.) At the time of plaintiff's shooting, Escalante was still
completing the certification process to work as a part-time officer within the State of Illinois.
Escalante failed the certification examination on February 9, 1998. In December, 1999,

Escalante was making $5.25 an hour with the Harvey Police Department.’

Escalante testified at his deposition that his starting hourly salary with the Harvey Police
Department was $5.20 or $5.25 and that at some point it went up to $6.25 or $6.75. The parties
do not indicate when Escalante left the Harvey Police Department or when he returned. In
addition, although Escalante is referred to as an “officer,” technically, he was hired as a “deputy

(continued...)
Internal Affairs’ History of Handling Excessive Force Complaints

From 1994 to 1998, Roy Wells (“Wells”) served as a patrol sergeant responsible for
supervising patrol officers and answering citizen complaints. He testified at his deposition to the
following regarding citizen complaints of police misconduct:* The first person to deal with the
complaint is the patrol sergeant on duty. There are no written guidelines for determining whether
a complaint is handled by a patrol sergeant or whether the complaint is passed on to Internal
Affairs, and it is entirely up to the patrol sergeant’s unreviewed and undocumented discretion to
decide when a complaint is referred to Internal Affairs. This manner of handling citizen
complaints could be fairly described as the Harvey Police Department’s policy on the subject, Of
the citizen complaints handled by Wells, about one third were referred to Internal Affairs and
about one third were handled at the patrol sergeant level. This is consistent with Harvey’s policy
for handling such complaints. There are no files for the complaints handled at the patrol sergeant
level, but, at times, Wells would take notes of the interview with the complaining citizen. These
notes are not kept in any particular place in Wells’ desk and sometimes the notes are thrown
away immediately. Sometimes Wells kept a note containing the complaining citizen’s name,

address, and phone number. These notes would be thrown away, however, after Wells contacted

3(...continued)
marshal,” a position with more limited responsibilities than a part-time police officer, because he
had not passed the [linois’ certification exam.

‘Defendants submitted an unsigned, undated affidavit purportedly from Wells that states
that complaints are only referred to and handled by him on nights and weekends when the
InternaJ Affairs’ Office is closed, that he never handles complaints of excessive force, and that
his deposition testimony stating that he investigated some excessive force complaints referred to
investigations made from 1992 to 1994 while he was an Internal Affairs investigator. The court
disregards this evidence. See Sellers v. Henmam, 41 F.3d 1100, 1101 (7" Cir. 1994) (unsigned
affidavits are likewise unsworn and subject to being stricken).

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the citizen to let her or him know that he had spoken to the officer who was the subject of the
complaint and that the situation had been resolved. If Wells resolved a complaint in favor of the
police officer, Wells informed the citizen that she or he could take the matter up with Internal
Affairs. Also, there is a sign posted on the station’s front desk window informing citizens that
they can contact Internal Affairs. About two or three times a year, Wells would write an internal
memorandum to Internal A ffairs regarding a complaint even though it had been resolved at the
police sergeant level. Wells had handled excessive force complaints and, at times, determined
that such a complaint was unfounded,

Damiani and Chief Hardiman, the Chief of the Harvey Police Force at the time of
plaintiffs shooting (“Hardiman”), testified to one or more of the following facts at their
depositions: Twenty to thirty percent of arrests result in excessive force claims, although not all
are reduced to writing. In 1996 and 1997, there were 24 Internal Affairs investigations of citizen
excessive force complaints, and none of the complaints was sustained. Every excessive force
complaint is sent to Internal Affairs for investigation,’ and a log exists for noting excessive force
complaints, although some complaints are not credible enough to be entered into this log. Some
complaints are turned into case reports at an investigator’s unreviewed and undocumented
discretion. In addition, not all departmentally created requests for disciplinary action against an
officer are retained (specifically, when the deputy chief —the only person allowed to give
disciplinary action- decides that an officer should not be disciplined, the request is thrown away),

but a record is kept when disciplinary action is taken. No member of the Harvey Police

"Hardiman testified that he was not aware of the police sergeant screening process
described by Wells, that such a process is improper, and that all excessive force complaints are
investigated,

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Department has been disciplined for use of excessive force since the time Hardiman was hired

through the time of plaintiff's shooting, and neither Escalante nor Torres has any knowledge of
being the object of an Internal Affairs investigation regarding excessive force. About half of
people shot by police officers accuse the police department of planting guns at the scene of the
shooting.
DISCUSSION

Count I: Excessive Force

Escalante

An officer uses excessive force when his or her actions are objectively unreasonable in
light of all the circumstances surrounding the incident. See Estate of Philips v. City of
Milwaukee, 123 F.3d 586, 592 (7" Cir. 1997). To determine the reasonableness of an officer’s
actions, this court must pay “careful attention to the facts and circumstances of [the] case,
including the severity of the crime at issue, whether the suspect poses an immediate threat to the
safety of the officers or others, and whether he is actively resisting arrest or attempting to evade
arrest by flight.” Graham v. Connor, 490 U.S. 386, 396 (1989); see also Jacobs v. City of
Chicago, 215 F.3d 758, 773 (7" Cir. 2000) (“In the end, the excessive force inquiry looks to
whether the force used to seize the suspect was excessive in relation to the danger he posed—to
the community or to the arresting officers—if left unattended.”’} (internal quotation marks and
citations omitted). When the use of deadly force is at issue, an officer’s use of such force in
apprehending a suspect is only reasonable when the officer has probable cause to believe that the
suspect is dangerous or has committed a violent crime. See Jacobs, 215 F.3d at 774; McDonald

v. Haskins, 966 F.2d 292, 294-95 (7" Cir. 1992).

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There is no dispute that Escalante shot plaintiff with the intention of using deadly force.

An obvious fact issue exists, however, as to whether plaintiff was dangerous. If plaintiff had no
gun, then he posed no danger to Escalante or any one else. Neither do defendants contend that
anyone believed plaintiff had committed a violent crime prior to Escalante shooting him. “In
essence, what we have here is a credibility question” not appropriately decided on a motion for
summary judgment. Miller v. Smith, 220 F.3d 491, 495 (7" Cir. 2000) (§ 1983 excessive force
claim where officer and plaintiff recounted significantly different versions of the facts involved).
A material fact issue therefore exists. Indeed, Plaintiff's testimony alone appears to be enough to
create a factual dispute. As the Seventh Circuit reiterated in Miller, this court cannot weigh the
evidence or the credibility of witnesses. Jd. And contrary to Escalante’s argument, the record, in
addition, reveals more than unsubstantiated rumor and speculation. Plaintiff testified that he did
not have a gun; Williams did not see a gun in plaintiffs hand when he fell over the fence; neither
did Williams see a gun when he first looked on the ground and through the fence; the forensic
scientist who tested the gun could find no evidence that plaintiff had touched the gun.

Moreover, since this court has determined that a fact issue exists as to whether Escalante
used excessive force when he shot plaintiff, Escalante’s argument that he is entitled to qualified
immunity necessarily fails. Escalante would be entitled to qualified immunity only if the
circumstances surrounding the shooting “would not have alerted a reasonable officer that his acts
could be deemed an application of excessive force.” McNair v. Coffey, 234 F.3d 352, 355 (7"
Cir, 2000). Ifa jury might find Escalante’s actions objectively unreasonable, then this court
cannot say Escalante is entitled to qualified immunity at this juncture. See Dufour-Dowell v.

Cogger, 152 F.3d 678, 680 (7" Cir. 1998) (“Raising a defense of qualified immunity in the face

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of disputed facts that control the answer to the question is a waste of everybody’s time.”). See
also Omdahl v. Lindholm, 170 F.3d 730, 734 (7® Cir. 1999) (“[WJhether the [plaintiffs] can
establish the existence of a constitutional violation turns on how a fact-finder resolves the
question of fact regarding deadly force. The existence of a factual dispute prevents us from
resolving the issue.”).°

City of Harvey

Even if Escalante is found at trial to have used excessive force, respondeat superior is not
a viable theory of recovery from the City under § 1983. See Monell v. Dep’t of Social Services,
436 U.S. 658, 691 (1978). Instead, the City must have in place an official policy that deprived
plaintiff of his constitutionally protected right to be free from Escalante’s use of excessive force.
See id. at 694. Plaintiff’s response to the City’s motion and materials submitted in support of the
response indicate that he is attempting to establish liability against the City based on “a
widespread practice that, although not authorized by written law or express municipal policy, is
so permanent and well settled as to constitute a ‘custom or usage’ with the force of law.”
Brokaw v. Mercer County, 235 F.3d 1000, 1013 (7 Cir. 2000); McCormick v. City of Chicago,

230 F.3d 319, 324 (7" Cir. 2000).

*Escalante’s opening brief argues that he is also entitled to immunity under the Illinois
Tort Immunity Act. The complaint pleads no state law battery claim, so this act does not apply.
See Payne v. Churchich, 161 F.3d 1030, 1038 (7" Cir. 1999) (district court erred in dismissing
claims against the county and sheriff on the ground that they enjoyed absolute immunity as a
matter of state law under the Illinois Tort Immunity Act. “ Immunity on the federal claims, those
brought pursuant to 42 U.S.C. § 1983 in this case, is a matter of federal law.”’); Kelm v. Arlington
Heights Park Dist., 1999 WL 753930, *5 (N.D.ILL.) (“a federal cause of action, here the Section
1983 civil rights claim, pre-empts a state tort immunity statute’).

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The record reveals that decisions of whether to investigate excessive force complaints are
often unreviewed and undocumented, and no written guidelines exist for handling such
complaints. A fact finder might conclude, therefore, that the City takes a lax attitude toward
excessive force complaints and that Escalante’s actions conformed with a policy of not
disciplining officers who use excessive force when apprehending suspects. In addition, the fact
that 24 investigations of excessive force complaints filed between 1995 and 1997 resulted in no
discipline could also lead a fact finder to the conclusion that the City had a policy ignoring
excessive force violations. Further, plaintiff has submitted an expert report concluding that the
Harvey Police Department

... has systemic deficiencies in its administrative investigations of use of force

and citizens’ complaints alleging improper use of force. These systemic

deficiencies were so pervasive and pretextual that any reasonable officer in such a

police agency would be aware of the significant failures of these critical

administrative investigations and would feel comfortable that field misconduct,

particularly use of unreasonable force, would not be discovered, would be

minimized or would not result in any significant sanction. These systemic failures

by the Harvey Police Department appeared to be conscious departures from

generally accepted practices within law enforcement.

(PL.’s Supp. Resp. Ex. A.) As such, a genuine fact issue exists and summary judgment on count I
against the City is likewise inappropriate.
Count II: Deprivation of Necessary Medical Care

In count II, plaintiff alleges that the City had a widespread practice of depriving pre-trial
detainees of necessary medical care. Pursuant to the Fourteenth Amendment’s Due Process
Clause, a pre-trial detainee has a right to be free from any punishment prior to an adjudication

from guilt, not just cruel and unusual punishment prohibited by the Eighth Amendment. See

Brownell v. Figel, 950 F.2d 1285, 1289 (7" Cir. 1991). “Prohibited punishment has been held to

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include deliberate indifference to the serious medical needs of pretrial detainees.” Jd. See also
Murphy v. Walker, 51 F.3d 714, 717 (7" Cir. 1995) (“Pretrial detainees, who are protected by the
Due Process Clause, will state a claim for inadequate medical treatment if they allege deliberate
indifference to their serious medical need.”’) (citations, internal quotation marks, and alterations
omitted). A “[Due Process] claim [alleging inadequate medical care] is analyzed the same way
as a claim under the Eighth Amendment to determine whether the officials showed deliberate
indifference to serious medical needs.” Chavez v. Cady, 207 F.3d 901, 904 (7"" Cir. 2000). See
also Higgins v. Corr. Med. Servs. of Hlinois, Inc., 178 F.3d 508, 511 (7" Cir. 1999) (“Under the
Fourteenth Amendment, a claim for denial of medical services is analyzed under the Eighth
Amendment standards.””). Deliberate indifference cannot be found “unless the official knows of
and disregards an excessive risk to inmate health or safety; the official must both be aware of
facts from which the inference could be drawn that a substantial risk of serious harm exists, and
he must also draw the inference.” Farmer v. Brennan, 511 U.S. 825, 837 (1994).

The City relies on Thomas v. Pate, 493 F.2d 151 (7" Cir. 1974) to support its conclusion
that plaintiff's medicai condition was not sufficiently serious to invoke the protection of the Due
Process Clause, In Gutierrez v. Peters, 111 F.3d 1364, 1370 (7" Cir. 1997), however, the
Seventh Circuit explained that it was skeptical of the pre-Estelle v. Gamble, 429 U.S. 97 (1976),
framework enunciated in Thomas. The Seventh Circuit noted that post-£stelle decisions issued
by the Seventh Circuit, “as well as those of the other circuit courts, have repeatedly recognized
that delays in treating painful medical conditions that are not life-threatening can support Eighth
Amendment claims.” Gutierrez, 111 F.3d at 1371. Here, the City failed to rebut plaintiff's

claims that he twice asked for medical assistance for a gunshot wound that was bleeding so

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profusely as to saturate a bandage and bleed through plaintiff's jeans, that plaintiff was too weak
to stand, and that a period of at least five hours elapsed between the time plaintiff asked for
medical attention and received treatment. And with regard to the City’s liability based on a
widespread practice of deliberate indifference, Hardiman gave conflicting testimony over
whether specific medical guidelines exist for determining whether a pre-trial detainee will
receive medical attention and there is no indication that a pre-trial detainee’s request for medical
attention is ever documented. It may be possible, therefore, for a fact-finder to infer that the City
had a custom of deliberately ignoring requests for needed medical care, and summary judgment
is likewise inappropriate for count II.
Count V: Malicious Prosecution

In order to withstand Escalante’s motion for summary judgment on count V, plaintiff
“must provide some evidence that (1) he has satisfied the requirements of a state law cause of
action for malicious prosecution; (2) a state actor committed the malicious prosecution; and (3)
he was deprived of liberty.” Cervantes v. Jones, 188 F.3d 805, 809 (7" Cir. 1999), The parties
argue over element (1), whether plaintiff provided enough evidence to create a fact issue
regarding satisfaction of Illinois’ requirements for a malicious prosecution action. Malicious
prosecution in Hlinois requires “(1) the commencement or continuance of an civil or criminal
judicial proceeding by the defendant, (2) the termination of the proceeding in the plaintiff's
favor, (3) the absence of probable cause for the proceeding, (4) the presence of malice, and (5)
damages to the plaintiff resulting from the commencement or continuance of that proceeding.”

Rodgers v. Peoples Gas, Light & Coke Co., 733 N.E.2d 835, 840 (IIL App. Ct. 2000); see also

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Cervantes, 188 F.3d at 809. A genuine issue of material facts exists as to whether plaintiff can
satisfy these requirements.

There is no argument that Escalante is immune from suit here or that plaintiff did not
prevail at his criminal trial. In addition, Escalante’s court submissions do not take up the issue of
damages. Instead, Escalante argues about probable cause and malice. First, this court agrees
with plaintiff that Escalante mischaracterizes plaintiff's claim. Escalante argues that he had
probable cause to arrest plaintiff because, inter alia, plaintiff fled when police arrived where
plaintiff was congregating with Reynolds. This argument misses the point. The pertinent inquiry
is whether Escalante had probable cause to subject plaintiff to a judicial proceeding for the
unlawful use of a weapon. If plaintiff had no gun, then, of course, Escalante had no probable
cause to “actively instigate[] or encourage[]} the prosecution of ... plaintiff.” Cervantes, 188
F.3d at 810 (internal quotation marks and citations omitted). In fact, if plaintiff had no gun, then
Escalante repeatedly lied when he completed his police report and when he encouraged McQuaid
to proceed with the case against plaintiff. Whether plaintiff possessed a gun is, as explained
above, a credibility question to be resolved by a fact-finder and not by the court on summary
judgment. Second, if plaintiff had no gun, then Escalante’s behavior in insti gating and
encouraging his prosecution was malicious. For these reasons, summary judgment is denied on
count V.

CONCLUSION

Plaintiff withdrew counts III and IV of his complaint, and these counts are therefore
dismissed. For the above stated reasons, the court denies summary judgment on counts I, I, and
Vv.

Date: February 15, 2001 Enter:

OAN H@MBAREY LEFKOW
United States District Judge

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